Filed 8/22/24 P. v. Calhoun CA2/3
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on
opinions not certified for publication or ordered published, except as specified by rule
8.1115(b). This opinion has not been certified for publication or ordered published for
purposes of rule 8.1115.



IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                      SECOND APPELLATE DISTRICT

                                  DIVISION THREE

  THE PEOPLE,                                                         B332567

           Plaintiff and Respondent,                                  (Los Angeles County
                                                                      Super. Ct. No. TA073433)
           v.

  DAREST MARCUS CALHOUN,

           Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County, John J. Lonergan, Jr., Judge. Affirmed.
      Matthew Missakian, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Scott A. Taryle and Daniel C. Chang, Deputy
Attorneys General, for Plaintiff and Respondent.
                   _________________________
       In 2004, a jury convicted Darest Calhoun of, among other
crimes, the murder of his accomplice during a robbery. Years
later, Calhoun petitioned for resentencing under Penal Code
section 1172.6,1 which limited accomplice liability for murder.
The trial court denied the petition without holding an evidentiary
hearing, finding that Calhoun was convicted of murder under the
provocative act doctrine, which requires a defendant to
personally harbor malice. On appeal, Calhoun contends that the
instructions nonetheless improperly allowed malice to be imputed
to him. We disagree and affirm the order.
                         BACKGROUND
I.    Evidence from Calhoun’s trial2
      Calhoun and David Wilson robbed a restaurant operated by
Rosalio and Estela Corona.3 Wilson pointed a gun at Rosalio and
demanded money, which Rosalio gave to him. At Calhoun’s
demand, Wilson gave the gun to Calhoun, who demanded more
money and forced Rosalio into the kitchen at gunpoint, where a
struggle over a butcher knife ensued. Calhoun twice shot at
Rosalio and then at Estela, who had come into the kitchen during


1
      All further statutory references are to the Penal Code.

      Effective June 30, 2022, section 1170.95 was renumbered to
section 1172.6, with no change in text. (Stats. 2022, ch. 58, § 10.)
2
      We have granted the People’s request for judicial notice of
the appellate record in People v. Calhoun (Nov. 21, 2006,
B183242) [nonpub. opn.]. (Evid. Code, § 452, subd. (d).)

3
    To avoid confusion, we refer to the Coronas by their first
names.




                                 2
the struggle. Calhoun also hit Rosalio on the head with the gun
and threatened to kill him. Rosalio and Estela were not hit by
the shots.
       People in a car parked across the street from the restaurant
witnessed some of these events. One saw Calhoun and Rosalio
fighting and Wilson go to help Calhoun. A witness saw Wilson
exit the restaurant holding his shoulder. Wilson tried but was
unable to open the door to the car that he and Calhoun had
arrived in. Wilson stumbled down the street, asking for help,
saying, “ ‘I been hurt.’ ” Calhoun then left the restaurant, shot at
the witnesses’ car, and ran away.
       Law enforcement found a bloodied butcher knife in the
kitchen. Tracing the path Wilson took, they found him lying in
the street and bleeding from a stab wound from which he died.
II.   The charges, verdict, and sentence
      Calhoun was charged with the murder of Wilson (§ 187,
subd. (a); count 1), the attempted murder of Estela (§§ 664, 187,
subd. (a); count 2), the attempted murder of Rosalio (§§ 664, 187,
subd. (a); count 3), robbery (§ 211; count 4), shooting at an
occupied vehicle (§ 246; count 5), assault with a firearm (§ 245,
subd. (a)(2); counts 6 &amp; 7), and possession of a gun by a felon
(§ 12021, subd. (a); count 8). The information also alleged
personal gun use allegations under section 12022.53, subdivisions
(b) and (c) as to counts 1, 3, and 4 and under sections 1203.06,
subdivision (a)(1) and 12022.5, subdivision (a)(1) as to counts 6
and 7.
      As to the murder count, the trial court instructed the jury
on provocative act murder under CALJIC No. 8.12. The trial
court did not instruct on felony murder or the natural and
probable consequences doctrine.




                                 3
        A jury found Calhoun guilty as charged, except it
deadlocked on counts 2 and 5. The trial court declared a mistrial
on those counts. The trial court sentenced Calhoun to “70 years
to life,” but after a different panel of this division reversed the
true finding on the section 12022.53, subdivision (c) gun
enhancement (People v. Calhoun, supra, B183242), the trial court
resentenced Calhoun to 50 years to life.
III.   Section 1172.6 proceedings
      In 2022, Calhoun petitioned for resentencing under section
1172.6.4 The trial court appointed counsel for Calhoun. The
People opposed the petition on the ground that Calhoun’s jury
was not instructed on felony murder or the natural and probable
consequences doctrine but was instructed on provocative act
murder, which required the jury to find Calhoun personally
harbored malice. In support of the opposition, the People
submitted the opinion affirming in part and reversing in part the
judgment of conviction on direct appeal, the jury instructions
from Calhoun’s trial, the verdicts on the murder and attempted
murder counts, and the opinion affirming the denial of Calhoun’s
prior section 1172.6 petition.
      On July 21, 2023, the trial court denied the petition on the
ground that Calhoun was convicted of murder under the


4
       Calhoun had previously filed a petition for resentencing,
which the trial court summarily denied without appointing
counsel. On appeal, a different panel of this division, with one
justice dissenting, affirmed on the ground that the record of
conviction established he was ineligible as a matter of law
because provocative act murder requires a finding of malice.
(People v. Calhoun (Oct. 9, 2020, B296956) [nonpub. opn.].)




                                 4
provocative act doctrine and was therefore ineligible for relief as
a matter of law.5
                          DISCUSSION
I.    Overview of Senate Bill No. 1437
       To the end of ensuring a person’s sentence is commensurate
with the person’s individual criminal culpability, Senate Bill
No. 1437 (2017–2018 Reg. Sess.) limited accomplice liability
under the felony-murder rule, eliminated the natural and
probable consequences doctrine as it relates to murder, and
eliminated convictions for murder based on a theory under which
malice is imputed to a person based solely on that person’s
participation in a crime. (See generally People v. Reyes (2023) 14
Cal.5th 981, 986; People v. Lewis (2021) 11 Cal.5th 952, 957, 959;
People v. Gentile (2020) 10 Cal.5th 830, 842–843.) Senate Bill
No. 1437 added section 189, subdivision (e) (limiting application
of the felony-murder rule) and section 188, subdivision (a)(3)
(stating that “to be convicted of murder, a principal in a crime
shall act with malice aforethought” and malice “shall not be
imputed to a person based solely on his or her participation in a
crime”). As amended by Senate Bill No. 775, effective January 1,
2022, these ameliorative changes to the law now expressly apply
to attempted murder and voluntary manslaughter.
       Senate Bill No. 1437 also created a procedure, codified at
section 1172.6, for a person convicted of murder, attempted
murder, or voluntary manslaughter under the former law to be
resentenced if the person could no longer be convicted of those


5
     The trial court also denied the petition as to the attempted
murder count. That count is not at issue on appeal.




                                 5
crimes under the current law. (People v. Lewis, supra, 11 Cal.5th
at p. 959; People v. Gentile, supra, 10 Cal.5th at p. 847.) A
defendant commences that procedure by filing a petition
containing a declaration that, among other things, the defendant
could not presently be convicted of murder, attempted murder, or
voluntary manslaughter under the current law. (People v. Strong
(2022) 13 Cal.5th 698, 708.)
       At the prima facie stage, the trial court takes as true the
petitioner’s factual allegations and assesses whether the
petitioner would be entitled to relief if those allegations were
proved. (People v. Lewis, supra, 11 Cal.5th at p. 971.) In
determining whether the petitioner has made a prima facie case
for relief, the trial court may look at the record of conviction,
including jury instructions, verdicts, and closing argument, to
determine readily ascertainable facts such as the crime of
conviction. (People v. Duchine (2021) 60 Cal.App.5th 798, 815;
see, e.g., People v. Harden (2022) 81 Cal.App.5th 45, 56.) At the
prima facie stage, the trial court does not engage in fact finding
that involves the weighing of evidence or exercise of discretion.
(Lewis, at p. 972.) If a petition establishes a prima facie case for
relief, the trial court must appoint counsel if requested, issue an
order to show cause, and hold an evidentiary hearing. (§ 1172.6,
subds. (b)(3), (c), &amp; (d)(1).) But if at the prima facie stage the
record of conviction establishes that the petition is meritless, the
trial court may dismiss it. (Lewis, at p. 971.)
       To deny a petition at the prima facie stage, the record of
conviction must demonstrate the petitioner is ineligible for relief
as a matter of law. (People v. Ervin (2021) 72 Cal.App.5th 90,
101 (Ervin).) We review the denial of a petition at the prima
facie stage de novo. (Ibid.)




                                 6
II.   Provocative act murder
      Calhoun was convicted of murder under the provocative act
doctrine. Relying primarily on People v. Lee (2023) 95
Cal.App.5th 1164 (Lee), Calhoun contends that although
provocative act murder requires the defendant to personally
harbor malice, the record of conviction suggests he may have
been convicted of Wilson’s murder under a now-improper theory
of imputed malice. As we explain, we disagree.
      The provocative act doctrine applies when someone other
than the defendant or an accomplice kills during a crime. (People
v. Gonzalez (2012) 54 Cal.4th 643, 654.) Under this doctrine,
when a perpetrator of a crime commits an act likely to result in
death, and the victim kills in a reasonable response to that act,
the perpetrator is guilty of murder. (People v. Johnson (2020) 57
Cal.App.5th 257, 265.) The killing is thus attributable to the
commission of the felony and to the defendant’s or the
accomplice’s intentional act, committed with conscious disregard
for human life. (Ibid.) A participant in the crime who does not
commit a provocative act may be vicariously liable for a killing
the accomplice causes based on having aided and abetted the
underlying crime. (Ibid.) Accordingly, a defendant may be
vicariously liable for a surviving accomplice’s provocative
conduct. (Ibid.)
      Lee, supra, 95 Cal.App.5th at pages 1175 to 1182, traced
the history of the provocative act doctrine, observing that when
the Lee defendant was convicted in 1994, “a defendant could be
convicted for a killing by a third party provoked by an
accomplice’s action with malice aforethought, regardless of the
defendant’s personal mental state” (id. at p. 1169). This began to
change with People v. Concha (2009) 47 Cal.4th 653, which held




                                7
that a killing by a third party in response to an attempted
murder could support first degree, as opposed to second degree,
murder so long as the jury found that the individual defendant
personally acted willfully, deliberately, and with premeditation.
(See generally Lee, at pp. 1180–1181.) Thereafter, People v.
Gonzalez, supra, 54 Cal.4th at page 655 held that all provocative
act murder requires proof the defendant personally harbored
malice.
       The Lee defendant’s jury was instructed under the pre-
Concha formulation of the provocative act doctrine, which did not
require the defendant to harbor malice personally.6 The
instruction provided that to prove murder under this doctrine,
the People had to prove (1) a robbery was committed, (2) during
the robbery’s commission, “defendant or another surviving
perpetrator also intentionally committed a provocative life-
threatening act” which was unnecessary to committing the
robbery, (3) “the provocative life-threatening act was deliberately
performed with knowledge of the danger to and with conscious
disregard for human life,” (4) such act was sufficiently
provocative and life threatening that another person not a
perpetrator of the robbery, in a reasonable response to the act,
killed a perpetrator of such crime, and (5) the provocative life-
threatening act proximately caused the accomplice’s death. (Lee,
supra, 95 Cal.App.5th at pp. 1182–1183.) This instruction
permitted the jury to find the defendant guilty of murder based


6
      Whether a defendant is entitled to resentencing under
section 1172.6 because malice could be imputed to the defendant
under the provocative act doctrine for pre-2009 convictions is on
review in People v. Antonelli (2023) 93 Cal.App.5th 712, review
granted October 18, 2023, S281599.




                                 8
on his surviving co-perpetrator’s malicious mental state rather
than on the defendant’s personal malice. (Ibid.) Because a
murder conviction can no longer be premised on imputed malice,
Lee held that the defendant was entitled to an evidentiary
hearing under section 1172.6, subdivision (d).
      In contrast, Calhoun’s jury was not presented with a theory
of imputed malice. Instead, the prosecutor’s theory was that
victim Rosalio, in response to Calhoun’s provocative act, stabbed
Wilson, killing him. The trial court instructed on that theory
with CALJIC No. 8.12:
             The defendant is accused in count 1 of having
      committed the crime of murder, in violation of section
      187(a) of the Penal Code.
            A homicide committed during the commission
     of a crime by a person who is not a perpetrator of that
     crime, in response to an intentional provocative act
     by a perpetrator of the crime other than the deceased
     perpetrator, is considered in law to be an unlawful
     killing by the surviving perpetrator of the crime.
           An “intentional provocative act” is defined as
     follows: [¶] 1. The act was intentionally committed;
     [¶] 2. The natural consequences of the act were
     dangerous to human life; and [¶] 3. The act was
     deliberately performed with knowledge of the danger
     to, and with conscious disregard for human life.
            In order to prove this crime, each of the
     following elements must be proved: [¶] 1. The crime
     of robbery was committed; [¶] 2. During the
     commission of the crime, the defendant also
     committed an intentional provocative act; [¶] 3. The
     victim of the robbery in response to the provocative
     act, killed a perpetrator of the crime; [¶] 4. The




                                9
      defendant’s commission of the intentional provocative
      act was a cause of the death of David Wilson.
       The jury was instructed that the intentional provocative act
had to be committed by “a perpetrator of the crime other than the
deceased perpetrator,” Wilson. (CALJIC No. 8.12, italics added.)
Thus, to find Calhoun guilty of murder under this instruction, the
jury had to find that Calhoun—not Wilson—committed an
intentional provocative act.
       Further, the jury had to find that Calhoun deliberately
committed the intentional provocative act with knowledge of the
danger to and conscious disregard for human life, which is
implied malice. Accordingly, the instruction did not allow the
jury to impute Wilson’s malice to Calhoun but instead required
Calhoun personally to harbor malice. Indeed, Calhoun
acknowledges that CALJIC No. 8.12 “suggested” he had to
personally harbor malice but further suggests the issue is not “so
clear cut” under Lee. But, as we have shown, the provocative act
murder instruction given to the Lee jury differed markedly from
the one given to Calhoun’s jury. (See, e.g., People v. Cunningham
(2024) 101 Cal.App.5th 678, 681 (conc. opn. of Cody, J.) [same
version of CALJIC No. 8.12 required jury to determine whether
appellant committed an intentional provocative act during
robbery and acted with implied malice], review granted July 10,
2024, S285205; see People v. Flores (2023) 96 Cal.App.5th 1164,
1175 [jury instructed that defendant had to intentionally commit
provocative act, knowing act was dangerous to human life, and
with conscious disregard to life].)
       Calhoun argues that CALJIC No. 8.12 was also problematic
because it misstated the element of implied malice. In support,
he cites the current CALCRIM instruction on provocative act




                                10
murder, CALCRIM No. 560, and People v. Mai (1994) 22
Cal.App.4th 117, 123 (Mai), disapproved on another ground in
People v. Nguyen (2000) 24 Cal.4th 756. CALCRIM No. 560
provides that to prove a defendant guilty of provocative act
murder, the People must prove the defendant knew that “the
natural and probable consequences of the provocative act were
dangerous to human life and then acted with conscious disregard
for life.” The instruction further provides that a provocative act
is an act whose “natural and probable consequences are
dangerous to human life, because there is a high probability that
the act will provoke a deadly response.” (CALCRIM No. 560.)
Mai found that the version of CALJIC No. 8.12 given there failed
to adequately define implied malice and the provocative act
because it stated, “ ‘Malice is implied when the provocative act
was deliberately performed with knowledge of the danger to and
with conscious disregard for human life.’ ” (Mai, at p. 126.) A
better instruction would state that malice is implied when the
killing resulted from an intentional act, the act’s natural
consequences are dangerous to human life, and the act was
deliberately performed with knowledge of the danger to and with
conscious disregard for human life. (Ibid.)
        We do not agree that either CALCRIM No. 560 or Mai show
that CALJIC No. 8.12 improperly instructed on the element of
implied malice. Indeed, the version of CALJIC No. 8.12 given to
Calhoun’s jury used the language Mai approved. Moreover, our
California Supreme Court has recently reiterated that implied
malice requires a killing “ ‘proximately caused by “ ‘an act, the
natural consequences of which are dangerous to life, which act
was deliberately performed by a person who knows that his
conduct endangers the life of another and who acts with




                               11
conscious disregard for life.’ ” ’ ” (People v. Reyes (2023) 14
Cal.5th 981, 988.) The version of CALJIC No. 8.12 given to
Calhoun’s jury stated that the natural consequences of the
intentional provocative act must have been dangerous to human
life, and the act was deliberately performed with knowledge of
the danger to, and with conscious disregard for human life. This
accurately stated the implied malice element. (See also People v.
Bell (2020) 48 Cal.App.5th 1, 13–14 [CALJIC No. 8.12’s
statement that “natural consequences” of act were dangerous to
human life is correct statement of law].)
       Calhoun further notes that CALCRIM No. 560 defines a
provocative act as one that goes beyond what is necessary to
accomplish the underlying crime, in this case, robbery. (See also
People v. Mejia (2012) 211 Cal.App.4th 586, 604 [if underlying
crime which provokes killing does not require intent to kill,
provocative conduct must be an act beyond that necessary simply
to commit the crime]; People v. Briscoe (2001) 92 Cal.App.4th 568,
582, fn. 6.) He contends that CALJIC No. 8.12 is “not clear” on
this point.7 When analyzing whether jury instructions render a
petitioner ineligible for relief at the prima facie stage of a section
1172.6 proceeding, we consider whether it is reasonably likely the
jury interpreted the instruction in an improper way. (People v.
Allen (2023) 97 Cal.App.5th 389, 398; People v. Estrada (2022) 77
Cal.App.5th 941, 948–949.) It is not reasonably likely the jury
interpreted CALJIC No. 8.12 in the manner Calhoun suggests.

7
      Calhoun raised this issue on direct appeal, and the court
rejected it, stating that CALJIC No. 8.12 “clearly informed the
jury the provocative act had to be something over and above
those acts inherent in committing the robbery.” (People v.
Calhoun, supra, B183242.)




                                 12
Rather, CALJIC No. 8.12 clearly told the jury that provocative
act murder requires proof, first, that a robbery was committed,
and second, that during the robbery, Calhoun “also committed an
intentional provocative act.” (CALJIC No. 8.12, italics added.)
The word “also” sufficiently conveyed that Calhoun had to do
something beyond the robbery. The jury would have further
understood this because it had to first find that Calhoun
committed a robbery, which was defined elsewhere, in CALJIC
No. 9.40. Further, the prosecutor in closing argument said that
provocative act murder required Calhoun to have committed a
robbery and to have committed an intentional provocative act
during it. He added, “So in addition to the robbery, the
defendant has to do something, and the law calls it an intentional
provocative act.” (Italics added.)
       Calhoun also argues that CALJIC No. 3.00 undermined the
personal malice requirement in CALJIC No. 8.12. CALJIC
No. 3.00 instructed the jury that all persons “involved in
committing a crime” are “principals in that crime” and, as such,
are, “regardless of the extent or manner of participation . . .
equally guilty.” The “equally guilty” language in former CALJIC
No. 3.008 “generally state[s] a correct rule of law,” but has been
criticized because it “could be misleading if the principals in a
particular case might be guilty of different crimes and the jury
interprets the instruction to preclude such a finding.” (People v.
Bryant, Smith and Wheeler (2014) 60 Cal.4th 335, 433.) Calhoun
similarly argues that CALJIC No. 3.00 allowed the jury to find


8
      The instruction has been revised to make the “equally
guilty” language optional. (People v. Johnson (2016) 62 Cal.4th
600, 640, fn. 5.)




                               13
him guilty of murder even if it believed that Wilson committed
the provocative act. These criticisms are irrelevant here because
Calhoun was the only defendant on trial, and, as we have said,
the jury was plainly instructed via CALJIC No. 8.12 that his
liability for murder had to be based on his personal mental state
and personal intentional provocative acts.
       Moreover, the record of conviction otherwise shows that all
elements of provocative act murder were clearly and accurately
presented to the jury. In closing argument, the prosecutor
referred to the dangerous acts Calhoun committed during the
robbery: demanding the gun from Wilson, demanding more
money from Rosalio, pushing Rosalio to the rear of the
restaurant, and choosing to struggle with Rosalio over the knife.
The prosecutor repeatedly said that Wilson was killed because of
Calhoun’s acts: “If the defendant had not acted how he did,
would David Wilson be dead of a stab wound to the chest? And
the answer’s no”; “David Wilson was killed because the defendant
engaged in that conduct”; and Calhoun “set in motion this chain
of events that caused David Wilson to turn out to be more of a
friend to [Calhoun] than [Calhoun] was to him. David Wilson,
because of [Calhoun’s] conduct, went to help him, ended up dead.”
Finally, the prosecutor argued that Calhoun engaging in a
struggle, grabbing the knife, and swinging the knife all over the
place “established this provocative act.” This argument made
clear that Calhoun—not Wilson—had to commit the intentional
provocative act or acts.
       Finally, Calhoun suggests that the trial court did not have
the necessary record of conviction to determine his eligibility for
section 1172.6 resentencing. But he does not specify what was
missing from the trial court’s review. In any event, our de novo




                                14
review has included the jury instructions, verdicts, and trial
transcript, inclusive of the parties’ closing arguments.9 (See
generally People v. Duchine, supra, 60 Cal.App.5th at p. 815
[court reviews record of conviction to determine resentencing
eligibility under § 1172.6].) Based on that record, Calhoun is
ineligible for relief under section 1172.6.




9
       Because we have concluded that the record of
conviction establishes as a matter of law that Calhoun is
ineligible for resentencing, we decline to address the
Attorney General’s arguments that this appeal presents a
routine claim of instructional error that could have been
asserted on direct appeal and that Calhoun has made no
showing that he could not presently be convicted of murder
because of changes to section 188 and 189 effected by
Senate Bill Nos. 1437 and 775. (See generally People v.
Flores, supra, 96 Cal.App.5th at pp. 1173–1174.)




                                15
                         DISPOSITION
      The order denying Darest Calhoun’s Penal Code section
1172.6 petition is affirmed.
     NOT TO BE PUBLISHED IN THE OFFICIAL
REPORTS



                                           EDMON, P. J.



We concur:



                        ADAMS, J.




                        BERSHON, J.*




*
      Judge of the Los Angeles Superior Court, assigned by the
Chief Justice pursuant to article VI, section 6 of the California
Constitution.




                                16
